        Case 5:21-cv-00844-XR Document 715-2 Filed 08/15/23 Page 1 of 29




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


  LA UNIÓN DEL PUEBLO ENTERO, et al.,

                         Plaintiffs,

                  v.                                            Civil Action No. 5:21-cv-844 (XR)
                                                                (consolidated cases)
  GREGORY W. ABBOTT, et al.,

                         Defendants.


       UNITED STATES’ OBJECTIONS TO STATE DEFENDANTS’ EXHIBIT LIST

        The United States hereby submits objections to State Defendants’ exhibits. The United

States utilized the following code in designating objections:

       A: Authenticity. The document is unsigned, undated, or has unidentified handwriting, or

        there is insufficient evidence to support a finding that the item is what the proponent

        claims it is. See Fed. R. Evid. 901 & 902.

       H: Hearsay. The document constitutes or contains hearsay, and no exception applies.

        See Fed. R. Evid. 801 & 802. With respect to expert reports, the United States has agreed

        to withdraw the objection so long as the expert testifies live or by trial deposition and

        adopts the statements in the report while under oath and subject to cross examination.

        With respect to other materials, the United States objects only insofar as the exhibit is

        offered for the truth of the matter asserted and not for the fact of a prior statement.

       P: Unduly Prejudicial. Any probative value is substantially outweighed by the danger of

        prejudice, delay, or needless presentation of cumulative evidence. See Fed. R. Evid. 403.

       R: Relevance. Not relevant to any issue to be decided. See Fed. R. Evid. 401 & 402.
        Case 5:21-cv-00844-XR Document 715-2 Filed 08/15/23 Page 2 of 29




       The United States has identified where its exhibit list overlaps with that of State

Defendants. Where the United States and State Defendants list documents that appear to be

identical but were produced with distinct Bates numbers, the United States has provided the

Bates range of its exhibit in the Notes column below. The United States has also listed exhibits

that identify substantially similar documents but that are a non-exact match with a ~.


  #                     Exhibit                      Bates Range   US #   Objection   Notes/US Bates

        Signed and executed copy Senate Bill 1.
  1     https://webservices.sos.state.tx.us/legbil                  1
                 ls/files/C287/SB1.pdf

          Expert Witness Report, Prof. Mark
          Hoekstra, Response to Prof. Eitan
  2                                                                          H
          Hersh’s February 10, 2023, Second
                Supplemental Report

          Expert Witness Report, Prof. Mark
          Hoekstra, Response to Prof. Eitan
  3                                                                         H, R
          Hersh’s February 28, 2022, Initial
                       Report

        Notice of Correction to March 29, 2022,
        Expert Report of Prof. Mark Hoekstra,
  4        Ph.D., Written in Response to the                                H, R
          February 28, 2022, Report by Prof.
                      Eitan Hersh

          Expert Witness Report, Prof. Mark
         Hoekstra, Response to Prof. Christian
  5                                                                          H
             Grose’s February 10, 2023,
                 Supplemental Report

          Expert Witness Report, Prof. Mark
         Hoekstra, Response to Prof. Christian
  6                                                                          H
          Grose’s February 28, 2022, Initial
                       Report

        Notice of Correction to March 29, 2022,
        Expert Report of Prof. Mark Hoekstra,
  7                                                                          H
        Written in Response to the February 28,
        2022, Report by Prof. Christian Grose.

         Expert Witness Report, Prof. Mark
          Hoekstra, Response to Prof. Eric
  8                                                                          H
        McDaniel’s February 10, 2023, Second
               Supplemental Report



                                                     2
     Case 5:21-cv-00844-XR Document 715-2 Filed 08/15/23 Page 3 of 29




#                   Exhibit                      Bates Range     US #   Objection   Notes/US Bates

      Expert Witness Report, Prof. Mark
       Hoekstra, Response to Prof. Eric
9                                                                          H
     McDaniel’s February 28, 2022, Initial
                   Report

      Expert Witness Report, Prof. Mark
     Hoekstra, Response to Prof. Kenneth R.
10                                                                         H
     Mayer’s March 6, 2023, Supplemental
                    Report

      Notice of Correction to April 5, 2023,
     Expert Report of Prof. Mark Hoekstra,
11   PhD, Written in Response to the March                                 H
       6, 2023, Report by Prof. Kenneth
                     Mayer

     Expert Witness Report, Dr. Stephen C.
12                                                                         H
                    Graves

      Election Advisory No. 2021-18, Re:
       Revised: March 1, 2022, Primary
13    Election and May 24, 2022, Primary       STATE097860-908
      Runoff Election Law Calendar, dated
              November 12, 2021

      Election Advisory No. 2021-21, Re:
      Legislative Summary - Second and
14                                             STATE001483-502
         Third Special Sessions, dated
              November 19, 2021

      Election Advisory No. 2021-23, Re:
15    May 7, 2022, Election Law Calendar,      STATE097909-48
           dated December 10, 2021

      Election Advisory No. 2022-07, Re:
     NEW LAW: Changes to Early Voting
16    by Personal Appearance - House Bill      STATE001577-93
     2025, House Bill 3107, and Senate Bill
           1, dated January 21, 2022

      Election Advisory No. 2022-08, Re:
          NEW LAW: Senate Bill 1 -
       Opportunity to Correct Defects on                                              US exhibit at
17                                             STATE034294-321   101
      Application for a Ballot by Mail and                                          STATE019849-76
      Carrier Envelope, dated [January 28,
                     2022]




                                                  2
     Case 5:21-cv-00844-XR Document 715-2 Filed 08/15/23 Page 4 of 29




#                    Exhibit                       Bates Range     US #   Objection   Notes/US Bates


     Election Advisory No. 2022-09, NEW
        LAW: Changes to Poll Watcher
18   Requirements Under House Bill 3107           STATE060559
      and Senate Bill 1, dated February 4,
                     2022


       Election Advisory No. 2022-12, Re:
        Additional Procedures Regarding
19    Correction of Defects on Application       STATE001469-73    102
     for Ballot by Mail or Carrier Envelope,
             dated February 11, 2022

       Election Advisory No. 2022-18, Re:
      Additional Ballot by Mail Procedures                                              US exhibit at
20                                               STATE087955-58    103
     for May Uniform Election and Primary                                             STATE087989-92
      Runoff Election, dated April 26, 2022

      Election Advisory No. 2022-25, Re:
                                                  STATE122992-
21     November 8, 2022, Election Law
                                                      3039
         Calendar, dated June 20, 2022

       Spreadsheet created by Secretary of
      State in response to media inquiries,
22                                               STATE115581-616   120       H
      listing mail- ballot rejection rates for
                  2022 elections

     Final Report on Audit of 2020 General
23                                               STATE115222-580             H
               Election in Texas

       Executive Summary to Audit 2020
24                                               STATE115212-221             H
          General Election in Texas

         Harris County Post Election
25   Assessment of the November 8, 2022,         STATE170230-83    135
              General Election

       Handbook for Election Judges and
      Clerks, Qualifying Voters on Election       STATE110976-
26                                                                 96
      Day 2022, Secretary of State, revised           1056
                    July 2022

       Handbook for Election Judges and
      Clerks, Early Voting Ballot Board &                                               US exhibit at
27                                                                 ~93
       Signature Verification Committee,                                              STATE001325-75
      Secretary of State, revised July 2022

       Poll Watcher’s Guide, Secretary of
28                                               STATE106313-337
           State, revised January 2022

     Draft of Poll Watcher Online Training,
29                                               STATE035175-90             H, R
      Secretary of State, January 20, 2022



                                                    3
     Case 5:21-cv-00844-XR Document 715-2 Filed 08/15/23 Page 5 of 29




#                   Exhibit                      Bates Range    US #   Objection   Notes/US Bates

      Texas Voter Registration Application
30                                             STATE046251-52
                   (Spanish)

      Texas Voter Registration Application                                           US exhibit at
31                                             STATE046253-54   ~48
                   (English)                                                        STATE040495

32       Federal Post Card Application                          50

33      Federal Write-In Absentee Ballot

     Form 4-20, Certificate of Appointment
34      of Poll Watcher by a Candidate,        STATE060813-14
                 January 2022.

     Form 4-21, Certificate of Appointment
35     of Poll Watcher by Political Party,     STATE060815-16
                January 2022.

     Form 4-22, Certificate of Appointment
36    of Poll Watcher for Propositions or      STATE060817-16
           Measures, January 2022

     Form 4-23, Certificate of Appointment
     of Poll Watcher by Registered Voters
37                                             STATE060819-20
       on Behalf of a Write-In Candidate,
                 January 2022

        Form 5-21, Ballot Envelope (For                                             US exhibit at
38                                             STATE061390-91   ~18
            Secrecy), January 2022                                                 US00005541-42

         Form 6-2, Notice of Rejected
39   Application for Ballot by Mail, January   STATE031641-42   19
                      2022

          Form 6-3, Notice of Rejected
         Application for Ballot by Mail -
40                                             STATE031643-44   20
          Missing or Incorrect Personal
      Identification Numbers, January 2022

         Form 6-4, Notice of Rejected
        Application for Ballot by Mail -
                                                                                     US exhibit at
41     Required Personal Identification        STATE074329-30   21
                                                                                   STATE031645-46
      Number is Not Associated with Your
         Voter Record, January 2022

        Form 6-6, Request to Cancel
                                                                                     US exhibit at
42   Application for Ballot by Mail - Early    STATE091410-11   22
                                                                                   STATE001280-81
      Voting Clerk’s Form, January 2022

      Form 6-11, EVC Notice of Carrier
43   Defect Mailed with Corrective Action      STATE123304-06
         Form (Spanish), April 2022




                                                 4
     Case 5:21-cv-00844-XR Document 715-2 Filed 08/15/23 Page 6 of 29




#                   Exhibit                     Bates Range    US #   Objection    Notes/US Bates

      Form 6-11, EVC Notice of Carrier
                                                                                    US exhibit at
44   Defect Mailed with Corrective Action     STATE123307-09   24
                                                                                  STATE087675-77
         Form (English), April 2022

       Form 6-12, EVC Notice of Carrier
45    Defect Phone with Corrective Action     STATE123310-12
          Form (Spanish), April 2022

       Form 6-12, EVC Notice of Carrier
                                                                                    US exhibit at
46    Defect Phone with Corrective Action     STATE123313-15   25
                                                                                  STATE087681-83
          Form (English), April 2022

       Form 6-13, Notice of Surrendered                                             US exhibit at
47                                             STATE034285     26
         Ballot by Mail, January 2022                                              STATE019840

     Form 6-14, Corrective Action Form for
                                                                                    US exhibit at
48    Defective Carrier Envelope, January      STATE034286     27
                                                                                   STATE019841
                     2022

     Form 6-15, Carrier Envelope for Early
                                                                                    US exhibit at
49    Voting Ballot (regular ABBM), July      STATE138768-70   28
                                                                                  STATE134228- 30
                      2022

        Form 6-17, Information about
                                                                                    US exhibit at
50     Returning Your Carrier Envelope,       STATE074293-94   33
                                                                                  STATE031647-48
                 January 2022

     Form 6-35, Notes for Carrier Envelope                                          US exhibit at
51                                             STATE001634     ~37
            (FPCA), January 2022                                                  STATE171171-73

         Form 6-36, Information about
                                                                                    US exhibit at
52     Returning Your Voted Mail Ballot       STATE031652-53   38
                                                                                  STATE032366-67
         (FPCA Insert), January 2022

     Form 6-37, Official Election Signature
                                                                                    US exhibit at
53    Sheet for an FPCA Voter, December       STATE001643-44   40
                                                                                  STATE040053-54
             2021 (English/Spanish)

     Form 7-33 (AW7-7b), Notice of Voting
54                                             STATE033029
         Order Priority, January 2022

       Form 7-58, Oath of Assistance and
55                                            STATE138771-72
             Interpreter, July 2022

     Form 7-59, Information of Person that
      Provided Transportation to Seven or
56                                             STATE112223
       More Voters for Curbside Voting,
                 October 2022

     Form 8-15, Notice of Rejected Ballot,                                          US exhibit at
57                                             STATE152170     42
                January 2022.                                                     STATE150492-93




                                                5
     Case 5:21-cv-00844-XR Document 715-2 Filed 08/15/23 Page 7 of 29




#                    Exhibit                     Bates Range     US #   Objection   Notes/US Bates

       Form 8-20, Roster of Voters with
                                                                                      US exhibit at
58   Defective Carrier Envelopes - Returned     STATE034287      43
                                                                                     STATE061142
      to the Voter by Mail, January 2022

     Form 8-21, Roster of ABM Voters with
                                                                                      US exhibit at
59   Defective Carrier Envelopes - Notified     STATE034288      44
                                                                                     STATE046360
        by Phone or Email, January 2022

     Form 8-22, Roster of FPCA Voters with
                                                                                      US exhibit at
60    Defective Carrier Envelopes - Notified    STATE034289      45
                                                                                     STATE019844
        by Phone or Email, January 2022

      Form 8-23, Notice of Carrier Defect -
                                                                                      US exhibit at
61   Carrier Envelope Returned to the Voter     STATE034290      46
                                                                                    STATE019845-46
              by Mail, January 2022

      Form 8-24, Notice of Carrier Defect -
       Vote Notified of Carrier Envelope                                              US exhibit at
62                                              STATE034292      47
       Defect by Phone or Email, January                                            STATE019847-48
                     2022

     Instructions for Form 9-12, Preliminary
63     Election Reconciliation - Unofficial    STATE019487-488
      Totals (Election Day), February 2022

        Form 9-12, Preliminary Election
64      Reconciliation - Unofficial Totals      STATE019489
         (Election Day), February 2022

       Form 9-13, Election Reconciliation
65   Form - Official Results (Canvass Form)     STATE019490
                 February 2022

      Instructions for Form 9-13, Election
66   Reconciliation Form - Official Results    STATE019491-92
        (Canvass Form), February 2022

     January 18, 2022, Email from Election
      Security Trainer Alexa Buxkemper to
67                                             STATE033331-32              H
      Legal Director Christina Adkins, Re:
               How many forms....

      Carrier Envelope Insert utilized by
                                                                                      US exhibit at
68   Denton County to remind voters of ID       STATE154278      53
                                                                                     STATE151977
             number requirement

       Carrier Envelope Insert utilized by
                                                                                      US exhibit at
69    Travis County to remind voters of ID      064.134768-69    ~57
                                                                                    STATE151937-38
              number requirement

       Carrier Envelope Insert utilized by
                                                                                      US exhibit at
70    Travis County to remind voters of ID      064.134775-76    ~57
                                                                                    STATE151937-38
              number requirement



                                                  6
     Case 5:21-cv-00844-XR Document 715-2 Filed 08/15/23 Page 8 of 29




#                   Exhibit                      Bates Range    US #   Objection   Notes/US Bates

     ABBM Insert utilized by Travis County
71      to remind voters of ID number           064.134766-67             A
                 requirement

     ABBM Insert with Numbers utilized by
72    Travis County to remind voters of ID      064.134773-74             A
              number requirement

       Carrier Envelope Insert utilized by
       Harris County in 2022 Primaries to      TATUM_005333-
73                                                                        A
          remind voters of ID number                34
        requirement (English/Spanish)

       Carrier Envelope Insert utilized by
                                               TATUM_005335-
74    Harris County to remind voters of ID                                A
                                                    36
     number requirement (Chinese/English)

       Carrier Envelope Insert utilized by
                                               TATUM_005337-
75    Harris County to remind voters of ID                                A
                                                    38
     number requirement (Spanish/English)

       Carrier Envelope Insert utilized by
      Harris County to remind voters of ID     TATUM_005337-
76                                                                        A
               number requirement                   40
              (Vietnamese/English)

       Carrier Envelope Insert utilized by
       Bexar County in the May 7, 2022,
                                                                                    US exhibit at
77     Local Election and May 24, 2022,                         ~52       A
                                                                                    US00005549
     Primary Runoff to remind voters of ID
              number requirement


       Carrier Envelope Insert utilized by
     Bexar County in the November 8, 2022,
     General Election to remind voters of ID
78
       number requirement. (Exhibit 13 -
      February 28, 2023, Dep. of Jacquelyn
                    Callanan)

      Carrier Envelope Insert utilized by
79    Hays County to remind voters of ID       STATE139500-01             A
             number requirement

      Carrier Envelope Insert utilized by
                                                                                    US exhibit at
80   Kleberg County to remind voters of ID      STATE142722     54
                                                                                   STATE151559
             number requirement

       ABBM Insert utilized by Kleberg
81   County to remind voters of ID number       STATE140753               A
                 requirement


                                                 7
     Case 5:21-cv-00844-XR Document 715-2 Filed 08/15/23 Page 9 of 29




#                    Exhibit                     Bates Range    US #   Objection     Notes/US Bates

                                                                                      Bates appears to
                                                                                    refer to a version of
                                                                                     this chart updated
     Election Fraud Violations Chart, Office                                            in July 2022.
82   of the Attorney General, updated April    STATE112177-93   ~338       H
                    20, 2022                                                        US lists the April
                                                                                     2022 document,
                                                                                         marked
                                                                                    STATE087323-39

      Instances of Suspected Illegal Voting
83    Since March 1, 2018 - Cases Opened,      STATE112155-57           H, P, R
         Office of the Attorney General

      Case Tracking Spreadsheet, Election
84    Integrity Unit, Office of the Attorney   STATE112158-59          A, H, P, R
                      General

85   2020 Complaint Log, Secretary of State     STATE078234            A, H, P, R

     2016-2019 Complaint Log, Secretary of
86                                              STATE078237            A, H, P, R
                   State

     Election Fraud Complaints Referred for
87    Investigation: SOS Referrals, updated    STATE107717-32          A, H, P, R
                  May 10, 2022

     March 11, 2021, Email from Director of
      Government Relations Ryan Fisher at
88     the Office of Attorney General to        STATE090960     180
     Jessica Hart; Re: OAG Election Fraud
                    Section

       Power Point Presentation, Election
89                                             STATE054622-77   340
                   Integrity.

      Indictment, Texas v. Ward, Cause No.
90                                             STATE098012-14            H, R
                    50947-B

      Indictment, Texas v. Jackson, Cause      STATE097980-
91                                                                       H, R
                 No. 50949-B                      98000

     Indictment, Texas v. Burns, Cause No.
92                                             STATE098008-11            H, R
                   50951-B

     Indictment, Texas v. Brown, Cause No.
93                                             STATE098001-07            H, R
                    50953-B

       Indictment, Texas v. Molina, W-19-
94                                             STATE098413-18            H, R
                    0134-J22

      Indictment, United States v. Orellana,
95                                             STATE098510-15            H, R
             Case No. 9:18-cr-00020




                                                 8
      Case 5:21-cv-00844-XR Document 715-2 Filed 08/15/23 Page 10 of 29




 #                    Exhibit                       Bates Range    US #   Objection   Notes/US Bates

        Judgment in a Criminal Case, United
96      States v. Orellana, Case No. 9:18-cr-     STATE098516-22            H, R
                        00020

         Plea Agreement, United States v.
97                                                STATE098523-32            H, R
         Orellana, Case No. 9:18-cr-00020

       Warrant of Arrest, Texas v. Molina, W-
98                                                STATE098537-44            H, R
                   19-0134-J22

           Agreement, OAG Prosecution
99      Diversion Program, related to illegal      STATE087320              H, R
           voting, signed March 8, 2022

           Agreement, OAG Prosecution
100    Diversion Program, related to unlawful      STATE087340     342       H
          assistance, signed June 6, 2018

           Agreement, OAG Prosecution
        Diversion Program, related to illegal
101       voting and false information on          STATE087342              H, R
       government record, signed October 28,
                       2021

           Agreement, OAG Prosecution
        Diversion Program, related to illegal
102       voting and false information on          STATE087345              H, R
       government record, signed August 14,
                       2020

           Agreement, OAG Prosecution
        Diversion Program, related to illegal
103       voting and false information on          STATE087360              H, R
       government record, signed August 19,
                       2020

          Agreement, OAG Prosecution
       Diversion Program, related to illegal
104                                                STATE087365              H, R
         voting and false information on
      government record, signed June 5, 2018

           Agreement, OAG Prosecution
105    Diversion Program, related to unlawful      STATE087341     343       H
          assistance, signed June 15, 2018

           Agreement, OAG Prosecution
       Diversion Program, related to failure to
106                                                STATE087373     344       H
        sign application as a witness, signed
                   May 19, 2021

           Agreement, OAG Prosecution
      Diversion Program, related to violations
107                                                STATE087375              H, R
         of Tex. Elec. Code §§ 64.012 and
          276.013, signed August 5, 2019


                                                    9
      Case 5:21-cv-00844-XR Document 715-2 Filed 08/15/23 Page 11 of 29




 #                    Exhibit                      Bates Range    US #   Objection   Notes/US Bates

           Agreement, OAG Prosecution
        Diversion Program, related to false
108                                               STATE087376     345       H
      information on application for ballot by
            mail, signed June 26, 2018

           Agreement, OAG Prosecution
        Diversion Program, related to false
109                                               STATE087377     346       H
      information on application for ballot by
            mail, signed June 25, 2018

           Agreement, OAG Prosecution
        Diversion Program, related to false
110                                               STATE087380     347       H
      information on application for ballot by
            mail, signed June 25, 2018

          Agreement, OAG Prosecution
       Diversion Program, related to illegal
111      voting and false information on          STATE087381              H, R
       application for ballot by mail, signed
                   July 25, 2018

          Agreement, OAG Prosecution
       Diversion Program, related to illegal
112      voting and false information on          STATE087382              H, R
       application for ballot by mail, signed
                   July 25, 2018

           Agreement, OAG Prosecution
        Diversion Program, related to false
113                                               STATE087386     348       H
      information on application for ballot by
         mail, signed September 17, 2018

           Agreement, OAG Prosecution
        Diversion Program, related to false
114                                               STATE087391     350       H
      information on application for ballot by
            mail, signed June 26, 2018

           Agreement, OAG Prosecution
        Diversion Program, related to false
115                                               STATE087392     351       H
      information on application for ballot by
            mail, signed June 26, 2018


           Agreement, OAG Prosecution
        Diversion Program, related to false
116                                               STATE087393              H, R
      information on application for ballot by
            mail, signed June 26, 2018

       Final Judgment, Rangle v. Rodriguez,
117    NO. 2022CVK001669D1 (49th Dist.           STATE184628-37            H, R
         Ct., Webb County, Feb. 2, 2023)


                                                   10
      Case 5:21-cv-00844-XR Document 715-2 Filed 08/15/23 Page 12 of 29




 #                    Exhibit                     Bates Range     US #   Objection   Notes/US Bates

        United States' Responses to Texas's
118                                                                         R
         First Set of RFPs - Privilege Log

       November 4, 2013, Press Release from
        FBI San Antonio Field Office, Re:
119                                              STATE107789                H
         Former Cameron County Woman
            Convicted of Voter Fraud

         June 5, 2014, Press Release from
       Department of Justice U.S. Attorney’s
       Office Southern District of Texas, Re:
120                                             STATE107844-45             H, R
        Campaign Worker Pleads Guilty To
       Buying Votes In Donna School Board
                     Election

        June 19, 2014, Press Release from
       Department of Justice, Re: Campaign
121                                             STATE097645-46             H, R
      Manager Charged with Buying Votes in
      a Donna, Texas, School Board Election

       December 1, 2014, Press Release from
         FBI San Antonio Field Office, Re:
122     Campaign Manager Pleads Guilty to        STATE107785               H, R
       Conspiracy to Buy Votes in a Donna,
           Texas School Board Election

       House Journal, Eightieth Legislature,
123   Regular Session, Sixtieth Day - Monday    STATE098214-75
                  April 23, 2007

       Transcript of Texas Senate Committee
124      on State Affairs, March 18, 2019,      STATE098545-658
            Hearing, Re: Senate Bill 9

       December 3, 2018, Letter from Senator
         Judith Zaffirini to Senator Bryan
125                                             STATE108349-50             H, R
          Hughes regarding Senate Select
          Committee on Election Security

      Chuck DeVore, The Role of Voter List
      Maintenance and Voter Identification in
126                                             TXLEG_0001066              H, R
      Election Integrity, Texas Public Policy
             Foundation, March 2021

         July 22, 2020, Letter from Harris
      County Clerk Chris Hollins to Governor
127     Greg Abbott, Re: Extended Early          STATE098283               H, R
         Voting Days for November 2020
                     Election

128     Governor’s Proclamation, dated July     STATE098533-36              R
        27, 2020, suspending certain statutes


                                                  11
      Case 5:21-cv-00844-XR Document 715-2 Filed 08/15/23 Page 13 of 29




 #                    Exhibit                      Bates Range    US #   Objection   Notes/US Bates
       concerning elections on November 3,
                       2020

       Governor Proclamation, dated October
        1, 2020, suspending certain statutes
129                                                                         R
        concerning the November 3, 2020,
                     elections

         Complaint, ECF 1, Tex. League of
        United Latin Am. Citizens v. Abbott,
       493 F. Supp. 3d 548, 567 (W.D. Tex.
130   2020), vacated sub nom. Tex. League of                               H, R
        United Latin Am. Citizens v. Hughs,
       No. 20-50867, 2021 WL 1446828 (5th
                Cir. Feb. 22, 2021)

       Justice Devine Dissent, In re Hotze, et
131    al, No. 20-0751, 627 S.W.3d 652 (Tex.                                R
                        2020)

        August 25, 2020, Tweet from Harris
132     County Elections about unsolicited                                A, H, R
                     ABBMS

       August 27, 2020, Letter from Director
        of Elections Keith Ingram to Harris
133                                                                        H, R
         County Clerk Chris Hollins about
                unsolicited ABBMs

        Petition, State v. Hollins, NO. 14-20-
134      00627- CV (127th Dist. Ct., Harris                                H, R
            County, Tex. Aug. 31, 2020)

       August 31, 2020, Letter from Charles
135    K. Eldred to Seth Hopkins about Rule                                H, R
         11 Agreement in State v. Hollins

       Opinion, State v. Hollins, 620 S.W.3d
136                                                                         R
              400, 403 (Tex. 2020)

      Webpage, Drive-Thru Voting, HARRIS
137     COUNTY ELECTION DIVISION,                STATE097764-67            A, R
      https://harrisvotes.com/drivethruvoting

      October 16, 2020, Letter from Attorney
138   General Ken Paxton to Texas Election                                 H, R
         Officials about drive-thru voting

       Petition for Writ of Mandamus, In re
139    Hotze, et al, No. 20-0819, 610 S.W.3d                               H, R
                   909 (Tex. 2020)




                                                   12
      Case 5:21-cv-00844-XR Document 715-2 Filed 08/15/23 Page 14 of 29




 #                    Exhibit                      Bates Range    US #   Objection   Notes/US Bates

       Justice Devine Dissent, In re Hotze, et
140    al, No. 20-0819, 610 S.W.3d 909 (Tex.     STATE098278-82             R
                        2020)

       Map of 24-Hour Voting Locations in
141    Harris County during November 2020         STATE097483
                 General Election

      Map of Drive Thru Voting Locations in
142   Harris County during November 2020          STATE097763
                General Election

         September 10, 2020, Email from
        Elections Division Attorney Charles
         Pinney to Assistant Director Dan
143                                              STATE092408-09            H, R
         Hayes, Re: Travis County Central
         Count Accommodations for Poll
                     Watchers

         Picture taken of sequestered poll
        watchers in Travis County’s central
144                                                                         R
       count during November 2020 General
                     Election

         Emergency Petition for Writ of
145   Mandamus, In re Mackowiak, et al, No.      STAT098659-724            H, R
             20-0889 (Tex. 2020)

      Brief of the Texas Attorney General, In
146   re Mackowiak, et al, No. 20-0889 (Tex.     STATE097484-90            H, R
                       2020)

       Rule 11 Agreement between Relators
147    and Respondent, In re Mackowiak, et       STATE097978-79            H, R
           al, No. 20-0889 (Tex. 2020)

        November 11, 2020, Press Release,
       Travis County Candidate Settles with
148                                               STATE098419              H, R
       Travis County Clerk, Martin Harry for
                 District Attorney

       December 8, 2022, Letter from Harris
      County Election Administrator Clifford
149   Tatum to Secretary of State John Scott,    STATE122932-36             H
         about Countywide Polling Place
                    Program

         Harris County November 6, 2018,
150     General and Special Elections Early       STATE170226
                 Voting Schedule

         Harris County November 3, 2020,
151     General and Special Elections Early      STATE098175-76
                 Voting Schedule


                                                   13
      Case 5:21-cv-00844-XR Document 715-2 Filed 08/15/23 Page 15 of 29




 #                     Exhibit                         Bates Range     US #   Objection   Notes/US Bates

       Harris County Early Voting Polling
152    Location List for November 3, 2020,           STATE098209-213
          General and Special Elections

       Harris County Election Day Polling
153    Location List for November 3, 2020,           STATE098178-208
          General and Special Elections

         Harris County November 8, 2022,
154     General and Special Elections Early          STATE170227-28
                 Voting Schedule

         Turnout and Registration Figures,
            SECRETARY OF STATE,
155               https://www.sos.                   STATE099276-98
         state.tx.us/elections/historical/70-
                       92.shtml

      Bee County Voter Registration Figures,
             SECRETARY OF STATE,
156                                                   STATE107733
                   https://www.sos.
      state.tx.us/elections/historical/bee.shtml

          Bexar County Voter Registration
                      Figures,
157          SECRETARY OF STATE,                     STATE107734-35
      https://www.sos.state.tx.us/elections/his
                torical/bexar.shtml

        Cameron County Voter Registration
        Figures, SECRETARY OF STATE,
158                  https://www                     STATE107736- 37
      .sos.state.tx.us/elections/historical/came
                       ron.shtml

          Collin County Voter Registration
        Figures, SECRETARY OF STATE,
159                  https://www.                    STATE107738-39
      sos.state.tx.us/elections/historical/collin.
                         shtml

         Dallas County Voter Registration
        Figures, SECRETARY OF STATE,
160                  https://www.                    STATE107740-41
      sos.state.tx.us/elections/historical/dallas
                         .shtml

        Denton County Voter Registration
       Figures, SECRETARY OF STATE,
161                  https://www.                    STATE107742-43
      sos.state.tx.us/elections/historical/dento
                        n.shtml



                                                       14
      Case 5:21-cv-00844-XR Document 715-2 Filed 08/15/23 Page 16 of 29




 #                      Exhibit                        Bates Range    US #   Objection   Notes/US Bates

         DeWitt County Voter Registration
        Figures, SECRETARY OF STATE,
162                  https://www.                     STATE107744
      sos.state.tx.us/elections/historical/dewitt
                         .shtml


         El Paso County Voter Registration
        Figures, SECRETARY OF STATE,
163                  https://www.                    STATE107745-46
       sos.state.tx.us/elections/historical/elpas
                        o.shtml


         Fort Bend County Voter Registration
         Figures, SECRETARY OF STATE,
164                   https://www                    STATE107747-48
       .sos.state.tx.us/elections/historical/fortb
                        end.shtml

        Galveston County Voter Registration
        Figures, SECRETARY OF STATE,
165                  https://www                      STATE107749
      .sos.state.tx.us/elections/historical/galve
                       ston.shtml

        Guadalupe County Voter Registration
         Figures, SECRETARY OF STATE,
166                 https://www.sos.                 STATE107750-51
       state.tx.us/elections/historical/guadalup
                         e.s html

          Harris County Voter Registration
         Figures, SECRETARY OF STATE,
167                 https://www.sos.                 STATE107752-53
       state.tx.us/elections/historical/harris.sht
                            ml

         Hidalgo County Voter Registration
         Figures, SECRETARY OF STATE,
168                 https://www.sos.                 STATE107754-55
       state.tx.us/elections/historical/hidalgo.s
                           html

          Medina County Voter Registration
         Figures, SECRETARY OF STATE,
                   https://www.sos.
169                                                   STATE107756
       state.tx.us/elections/historical/medina.s
                           ht
                           ml

      Montgomery County Voter Registration
170    Figures, SECRETARY OF STATE,                   STATE107757
                 https://www.sos.


                                                       15
      Case 5:21-cv-00844-XR Document 715-2 Filed 08/15/23 Page 17 of 29




 #                      Exhibit                        Bates Range    US #   Objection   Notes/US Bates
      state.tx.us/elections/historical/montgom
                       ery.shtml

          Starr County Voter Registration
        Figures, SECRETARY OF STATE,
171                                                  STATE107758-59
      https://www.sos.state.tx.us/elections/his
                 torical/starr.shtml

         Tarrant County Voter Registration
        Figures, SECRETARY OF STATE,
172                https://www.sos.                  STATE107760-61
      state.tx.us/elections/historical/tarrant.sht
                           ml

          Travis County Voter Registration
         Figures, SECRETARY OF STATE,
173                 https://www.sos.                 STATE107762-63
       state.tx.us/elections/historical/travis.sht
                            ml

        2020-2021 Voting Assistance Guide,
174                                                  STATE115160-75
                      Texas

        2022-2023 Voting Assistance Guide,
175                                                  STATE115060-65             R
                    Alabama

        2022-2023 Voting Assistance Guide,
176                                                  STATE115074-85             R
                    Georgia

        2022-2023 Voting Assistance Guide,
177                                                  STATE115066-73             R
                     Florida

        2022-2023 Voting Assistance Guide,
178                                                  STATE115086-91             R
                     Hawaii

        2022-2023 Voting Assistance Guide,
179                                                  STATE115092-99             R
                   Louisiana

        2022-2023 Voting Assistance Guide,
180                                                  STATE115100-07             R
                   Mississippi

        2022-2023 Voting Assistance Guide,
181                                                  STATE115108-13             R
                   New Jersey

        2022-2023 Voting Assistance Guide,
182                                                  STATE115114-19             R
                  New Mexico

        2022-2023 Voting Assistance Guide,
183                   North                          STATE115120-29             R
                    Carolina

        2022-2023 Voting Assistance Guide,
184                                                  STATE115130-35             R
                  North Dakota


                                                       16
      Case 5:21-cv-00844-XR Document 715-2 Filed 08/15/23 Page 18 of 29




 #                    Exhibit                      Bates Range     US #   Objection   Notes/US Bates

        2022-2023 Voting Assistance Guide,
185                                              STATE115136-43              R
                  Pennsylvania.

        2022-2023 Voting Assistance Guide,
186                                              STATE115144-51              R
                  South Dakota

        2022-2023 Voting Assistance Guide,
187                                              STATE115152-59              R
                   Tennessee

        2022-2023 Voting Assistance Guide,
188                                              STATE115176-91    104
                      Texas

        2022-2023 Voting Assistance Guide,
189                                              STATE115192-203             R
                    Virginia

        2022-2023 Voting Assistance Guide,
190                                              STATE115204-209             R
                  West Virginia

       Webpage, State Laws Governing Early
       Voting, NATIONAL CONFERENCE
191                                                                         H, R
       OF STATE LEGISLATURES (Aug. 8,
                      2019)

        List of Amendment to Senate Bill 1,
192
              Texas Legislature Online

       Enrolled version of House Bill 315. An
          Act Relating to a Statement by the
           Secretary of State Regarding the
193         Furnishing of Certain Personal       STATE182552-55
         Information on an Application for a
        Ballot to be Voted by Mail, H.B. 315,
                88th Leg., R.S. (2023)

        Enrolled version of House Bill 3159.
         An Act Relating to the Use of an
194     Accessible Absentee Mail System by       STATE182586-91
                  Certain Voters,
         H.B. 3159, 88th Leg., R.S. (2023)

       Enrolled version of House Bill 357. An
        Act Relating to the Requirements to
          Access the Online Tracker of an
195    Application for a Ballot to be Voted by   STATE182637-40     7
          Mail and to the Date of Runoff
        Elections, H.B. 357, 88th Leg., R.S.
                       (2023)

        Enrolled version of Senate Bill 1052.
      An Act Relating to the Compensation of
196                                              STATE182661-62
       an Election Judge or Clerk, S.B. 1052,
               88th Leg., R.S. (2023)




                                                   17
      Case 5:21-cv-00844-XR Document 715-2 Filed 08/15/23 Page 19 of 29




 #                    Exhibit                       Bates Range    US #   Objection   Notes/US Bates

        Enrolled version of Senate Bill 1599.
197      An Act Related to Ballots Voted by       STATE182732-43    6
       Mail, S.B. 1599, 88th Leg., R.S. (2023)

      Enrolled version of Senate Bill 477. An
      Act Relating to Accommodating Voters
198                                               STATE182774-78
       with a Disability, S.B. 477, 88th Leg.,
                    R.S. (2023)


      Enrolled version of Senate Bill 975. An
       Act Relating to the Procedures for the
       Issuance of a Personal Identification                                           US exhibit at
199                                               STATE182805-06    9
      Certificate to a Person Whose Driver’s                                          US00007914-15
      License is Surrendered, S.B. 975, 88th
                 Leg., R.S. (2023)


        Expert Witness Report, Prof. Eitan
      Hersh, Second Supplement to Report on
200   Identification Number Requirements for      US00007385-10    146
       Mail Balloting under SB 1. (Served on
                   Feb. 10, 2023)

         Expert Witness Report, Prof. Eitan
            Hersh, Addendum to Second
       Supplement to Report on Identification
201                                               US00007377-84    147
          Number Requirements for Mail
       Balloting under SB 1. (Served on May
                     8, 2023)

      Election Advisory No. 2022-13, Certain
202   Activities in Vicinity of Polling Places,   STATE001463-67
              dated February 14, 2022

         Election Advisory No. 2022-02,
          Instructions and Deadlines for
                                                                                        US exhibit at
203     Mailing/Emailing Ballots Under the        STATE124074-79   99
                                                                                      STATE040059-64
        Federal “MOVE Act” for Overseas
          Voters, dated January 10, 2022

        Election Advisory No. 2021-14, Re:
         Impact of Redistricting on Certain
204                                               STATE001477-82
        Election Deadlines and Procedures,
             dated November 1, 2021.

       Election Advisory No. 2021-10, Re:
       NEW LAW: SB 1111 (2021, Regular
205                                               STATE098870-72
      Session) Address Confirmation Process
        and Forms, dated August 31, 2021




                                                    18
      Case 5:21-cv-00844-XR Document 715-2 Filed 08/15/23 Page 20 of 29




 #                    Exhibit                      Bates Range     US #   Objection   Notes/US Bates

        Election Advisory No. 2021-09, Re:
206      2021 Legislative Summary - 87th         STATE098864-69
        Regular Session, dated July 30, 2021

        Election Advisory No. 2021-08, Re:
207      November 2, 2021, Election Law          STATE097826-859
        Calendar - Last Updated: June 2021

        Election Advisory No. 2020-27, Re:
208      Minority Language Requirements,         STATE097824-25
              dated September 7, 2020

        Election Advisory No. 2020-17, Re:
209      November 3, 2020, Election Law          STATE097791-823
         Calendar - Updated August 2020

        Election Advisory No. 2019-09, Re:
210      Minority Language Requirements,          STATE097788
                dated June 25, 2019

        Form 5-6, Roster for Voters Hand-
211    Delivering Carrier Envelope, January       STATE046603
                       2022

       Form 5-16, Application for Emergency
                                                                                        US exhibit at
212    Early Voting Ballot due to Death in the   STATE138843-44    16
                                                                                      STATE138167-68
               Family, January 2022

       Form 5-18, Application for Emergency
213    Early Voting Ballot Due to Sickness or    STATE138169-70    17
         Physical Disability, January 2022

      Instructions for Form 5-18, Application
      for Emergency Early Voting Ballot Due
214                                               STATE138054
         to Sickness or Physical Disability,
                    January 2022

      Form 5-19, Application for Emergency
         Early Voting Ballot Board Due to
215       Sickness of Physical Disability:        STATE138171
      Instructions for Voter after Marking the
                Ballot, January 2022

        Form 5-16(b), Request for Updated
       Annual Application for Ballot by Mail,
216                                              STATE185506-07
        prescribed by the Secretary of State,
                   October 2022

       Form 6-15, Carrier Envelope for Early                                            US exhibit at
217                                              STATE123087-89    29
             Voting Ballot, May 2022                                                  STATE132937-39




                                                   19
      Case 5:21-cv-00844-XR Document 715-2 Filed 08/15/23 Page 21 of 29




 #                    Exhibit                      Bates Range      US #   Objection   Notes/US Bates

        Instructions for Form 6-15, Carrier
218    Envelope for Early Voting Ballot, May      STATE123085
                       2022.

         September 27, 2022, Email from
       Director of Elections Keith Ingram to
219                                              STATE140777-79               H
       Joyce LeBombard, League of Women
      Voters, Re: Two More Quick Questions

       December 9, 2021, Email from Deputy
        Director J. Scott Wiedmann, Federal
        Voting Assistance Program, to Legal
220                                              STATE031889-90               H
         Director Christina Adkins, Re: RE:
         [Non- DoD Source] Questions on
        Carrier Envelopes for FPCA voters

      February 1, 2022, Email from Elections
       Division Attorney Melanie Best and
       Christina Obermiller, Department of
221                                               STATE04893-94     234       H
        Defense, Federal Voting Assistance
        Program, Re: FPCA ID Question -
                FVAP/Obermiller

         April 19, 2022, Mass Email from
         Elections Division Attorney Heidi                                              US exhibit at
222                                               STATE123303       278
         Martinez to Election Officials, Re:                                           STATE087671
             Forms Release 4/19/2022

      July 7, 2022, Mass Email from Director
       of Elections Keith Ingram to Election
223                                              [STATE]123318-19             H
        Officials, Re: Notice of Court Order
            and Revised Election Forms

        August 25, 2022, Mass Email from
       Secretary of State’s Elections Internet
224      account to Election Officials, Re:      STATE124342-44               H
           Important Information for the
       November 8, 2022, General Election

       September 21, 2022, Mass Email from
       Secretary of State’s Elections Internet
         account to Election Officials, Re:
225                                              STATE138776-78               H
       Updated Forms and Resources - Notice
        of Court Order and Revised Election
                       Forms

        October 11, 2022, Mass Email from
        Legal Director Christina Adkins to
226                                              STATE124636-39               H
        Election Officials, Re: Reminder -
                 Webinar Today




                                                   20
      Case 5:21-cv-00844-XR Document 715-2 Filed 08/15/23 Page 22 of 29




 #                    Exhibit                     Bates Range     US #   Objection   Notes/US Bates

       Request for Proposal, Voter Education
227    and Outreach Opportunities for 2022      STATE137757-837   115       H
           Elections, Secretary of State

        Report to the 88th Legislature on the
          Implementation of Educational
           Programs to Help Voters with
228                                             STATE137752-56    12       H, R
        Disabilities Understand How to Use
        Voting Systems Used in the State of
                       Texas

      September 8, 2022, Press Release, SOS
229   101: Voter Registration in Texas, Texas   STATE120522-25              H
          Secretary of State Press Office

       October 12, 2022, Press Release, SOS
230    101: Voting by Mail in Texas, Texas      STATE119692-98    335
          Secretary of State Press Office

         September 20, 2022, Press Release,
        Secretary Scott Marks National Voter
       Registration Day, Highlights Statewide
231                                             STATE120634-41    334
            ‘VoteReady’ Voter Education
         Campaign, Texas Secretary of State
                    Press Office

      November 7, 2022, Press Release, What
232    to Expect on Election Day in Texas,      STATE122811-15              H
       Texas Secretary of State Press Office

      February 9, 2022, Email from Assistant
      Secretary of State for Communications
        Sam Taylor to Director of Elections
233                                             STATE046882-84              H
       Keith Ingram, Re: Correction to CNN
      story - incorrect information about new
            vote by mail ID requirement

       Webpage, Voters with Special Needs,
            EPCOUNTYVOTES.COM,
234              https://epcounty               STATE170217-19              A
      votes.com/voter_information/voters_wit
                 h_special_needs.

         Notice to Voters with Disabilities,
235                                              STATE170319                A
                   Harris County

      Webpage, Services Available to Voters
              with Disabilities in Texas,
236             VOTETEXAS.GOV,                  STATE099301-04              A
      https://www.votetexas.gov/voters-with-
                    special-needs/

237      Webpage, FPCA Ballot Tracker,          STATE170224-25              A
        TEXAS SECRETARY OF STATE,


                                                  21
      Case 5:21-cv-00844-XR Document 715-2 Filed 08/15/23 Page 23 of 29




 #                    Exhibit                      Bates Range     US #   Objection   Notes/US Bates
                     https://web
      services.sos.state.tx.us/FPCA/index.asp
                           x

        Handbook for Election Judges and
       Clerks, Qualifying Voters on Election                                            US exhibit at
238                                              STATE034699-779   95
       Day 2022, Secretary of State, revised                                          STATE001377-57
                  January 2022

                                                                                         Appears
         Poll Watcher’s Guide, Secretary of
239                                              STATE106313-37                        duplicative of
             State, revised January 2022
                                                                                        Exhibit 28

        Travis County Poll Worker Training
240                                                 64.134855
                     Manual

       Harris County Election Manual 2022-
241                                              STATE170320-527
                      2023

       Frequently Asked Questions: Voting in
242                                              TATUM_005680
                      Person

          Power Point Presentation, Poll
        Watchers, County Election Officials
243                                              STATE085635-41
                  Election Law
               Seminar, July 2018

            Power Point Presentation,
       Communicating Legislative Changes:
                                                                                        US exhibit at
244    ID Requirements for Voting by Mail,       STATE177246-68    91        H
                                                                                      STATE174015-37
        NASED Presentation, Secretary of
              State, February 2023

      Power Point Presentation, SOS Updates
245                                               STATE075496
             2021, Secretary of State

        Power Point Presentation, Elections
246                                              STATE085183-232
         101, Secretary of State, July 2020

       Power Point Presentation, Early Voting
247                                               RFP14_000071
       in Person Changes, Secretary of State

        Power Point Presentation, FAQs on
                                                                                        US exhibit at
248       Applications for Ballot by Mail        STATE061321-24    73
                                                                                      STATE001713-43
           (ABBMs), Secretary of State

        Power Point Presentation, Election
249   Reconciliation-Official Totals, Webinar,   STATE019553-72
          Secretary of State, March 2022

         Power Point Presentation, Election
250       Reconciliation Forms, Webinar,         STATE087830-66
           Secretary of State, April 2022



                                                   22
      Case 5:21-cv-00844-XR Document 715-2 Filed 08/15/23 Page 24 of 29




 #                     Exhibit                      Bates Range     US #   Objection   Notes/US Bates

         Power Point Presentation, Election
251       Reconciliation Forms, Webinar,          STATE112370-414
          Secretary of State, October 2022

       Power Point Presentation, Opportunity
       to Correct Defects on Application for                                             US exhibit at
252                                               STATE059522-557   74
       Ballot by Mail and Carrier Envelope,                                            STATE044166-01
         Secretary of State, February 2022

       Power Point Presentation, Training for
       EVBB/SVC Members on New Ballot by
253                                               STATE124844-94    82
        Mail Procedures, Secretary of State,
                    April 2022


       Power Point Presentation, Update from
254                                               STATE111746-83              R
       SOS, Secretary of State, August 2022.


       Power Point Presentation, Training for
       EVBB/SVC Members on New Ballot by
255    Mail Procedures: General Election for      STATE124640-65    88
       State and County Officers, Secretary of
                State, October 2022

        Power Point Presentation, Proactive
        Communication Strategies for Local
256     Election Officials, Secretary of State,   STATE148646-70              H
        Election Seminar, Secretary of State,
                  November 2022

        Power Point Presentation, Election
257    Forms, Election Seminar, Secretary of      STATE114273-351
              State, December 2022

       Online Poll Worker Training Program,
258                                               STATE081477-98            A, H, R
        Secretary of State, January 6, 2016

         2020 Election Administration and
           Voting Survey, U.S. Election
259                                                                 141
        Assistance Commission. (Exhibit 8 -
       April 7, 2023, Dep. of Tammy Patrick)

         2020 EAVS Manual, U.S. Election
260                                               STATE050649-92
              Assistance Commission

         2018 Election Administration and
                                                   STATE114809 -
261        Voting Survey, U.S. Election                             142
                                                       5059
             Assistance Commission

         2016 Election Administration and
           Voting Survey, U.S. Election
262                                                                 143
        Assistance Commission. (Exhibit 6 -
       April 7, 2023, Dep. of Tammy Patrick)


                                                    23
      Case 5:21-cv-00844-XR Document 715-2 Filed 08/15/23 Page 25 of 29




 #                   Exhibit                     Bates Range     US #   Objection   Notes/US Bates

       2014 EAC Election Administration and
263    Voting Survey Comprehensive Report,     STATE114498-808
             U.S. Election Commission

         2010 Election Administration and
                                                STATE114377 -
264        Voting Survey, U.S. Election
                                                    497
             Assistance Commission

       Travis County Early Voting Locations
265                                             STATE098965                A
      for November 3, 2020, General Election

        Travis County Election Day Vote
266   Centers for November 3, 2020, General    STATE098974-76              A
                     Election

       Travis County Early Voting Locations
267                                             STATE098963                A
        for March 1, 2022, Primary Election

         Travis County Election Day Vote
268     Centers for March 1, 2022, Primary     STATE098966-68              A
                     Election

       Travis County Early Voting Locations
269                                             STATE098964                A
         for May 7, 2022, Local Elections

         Travis County Election Day Vote
270       Centers for May 7, 2022, Local       STATE098969-71              A
                     Elections

         Kerr County Polling Locations for
271                                             STATE170292                A
        November 8, 2022, General Election

        Election Reconciliation Form for
272    November 8, 2022, General Election,        64.134709
                 Travis County

       Preliminary Election Reconciliation -
273    Unofficial Totals for March 1, 2022,
         Primary Elections, Harris County

      Election Reconciliation Form for March
274    1, 2022, Democratic Primary Election,
                  Harris County

      Election Reconciliation Form for March
275    1, 2022, Republican Primary Election,
                  Harris County

        Election Reconciliation Form for
276    November 8, 2022, General Election,     TATUM_005330
                 Harris County.




                                                 24
      Case 5:21-cv-00844-XR Document 715-2 Filed 08/15/23 Page 26 of 29




 #                     Exhibit                       Bates Range     US #   Objection   Notes/US Bates

        Election Reconciliation Form for
277    November 8, 2022, General Election,          STATE170229
                 Harris County.

       Harris County Community Partnership
278                                                TATUM_005753
                   Presentation.

       Reference Manual & Checklist April
279                                                STATE098019-174             A
              2022, Harris County.

        Poll Worker Training November 8,
280                                                STATE181404-45              A
       2022, General Election, Hays County

        Webpage, Countywide Vote Centers
                   Information,
281      DALLASCOUNTYVOTES.ORG,                    STATE097760-62
      https://www.dallascountyvotes.org/coun
               tywide-polling-places

      Declaration of Brian Keith Ingram, ECF
       43-1, Tex. League of United Latin Am.
      Citizens v. Abbott, 493 F. Supp. 3d 548,
282     567 (W.D. Tex. 2020), vacated sub          STATE098337-40             H, R
      nom. Tex. League of United Latin Am.
      Citizens v. Hughs, No. 20-50867, 2021
       WL 1446828 (5th Cir. Feb. 22, 2021)

      Reporters Record, Vol. 2 of 3, October
          13, 2020, Hearing on Plaintiff's
       Application for Temporary Injunction
      and Defendants Plea to the Jurisdiction,
283                                                STATE098977-275            H, R
         Anti-Defamation League Austin,
         Southwest, and Texoma Regions
        v. Abbott, Cause No. D-1-GH-20-
                      005550

         Appellant’s Brief, Abbott v. Anti-
       Defamation League Austin, Southwest,
284    and Texoma Regions, Appellate Cause         STATE097491-600            H, R
         No. 03-20-00498- CV, 2020 WL
           6586318 (Tex. App.-Austin)


      Appellant’s Reply Brief, Abbott v. Anti-
      Defamation League Austin, Southwest,
285   and Texoma Regions, Appellate Cause          STATE097601-40             H, R
       No. 03- 20-00498- CV (Tex. App.-
                     Austin)


        Order, ECF 63, Hotze v. Hollins, No.
286     4:20- CV-03709, (S.D. Tex. Nov. 2,                                     R
       2020), aff'd in part, vacated in part sub


                                                     25
      Case 5:21-cv-00844-XR Document 715-2 Filed 08/15/23 Page 27 of 29




 #                    Exhibit                      Bates Range     US #   Objection   Notes/US Bates
       nom. Hotze v. Hudspeth, 16 F.4th 1121
        (5th Cir. 2021). (Exhibit 12 - May 6,
            2022, Dep. of Chris Hollins)

      John Burnett & Marisa Peñaloza, In Rio
         Grande Valley, Some Campaign
287                                              STATE107793-808            H, P
        Workers Are Paid To Harvest Votes,
               NPR (July 7, 2015)

         Tim Acosta, Judge tosses Kleberg
         County justice of the peace votes,
288                                              STATE107811-13              H
       orders new election, CALLER TIMES
                  (June 26, 2018)

       Tim Acosta, Robstown resident pleads
         guilty to voter fraud, barred from
289                                              STATE107836-37              H
       helping in future elections, CALLER
              TIMES (June 14, 2018)

        U.S. Census Bureau’s Quick Facts:
         Harris County, Texas, population
290     estimate July 1, 2021. (Exhibit 46 -                                 A
        October 6, 2022, Dep. of Sen. Carol
                     Alvarado)

           Risk for COVID-19 Infection,
        Hospitalization, and Death by Race/
        Ethnicity, CENTER FOR DISEASE
      CONTROL AND PREVENTION (Apr.
291                   7, 2023),                   STATE170541                R
      https://www.cdc.gov/coronavirus/2019-
          ncov/covid-data/investigations-
        discovery/hospitalization-death-by-
                 race-ethnicity html

       Report of the Commission on Federal
292    Election Reform, Building Confidence      STATE097647-759             H
         in U.S. Elections, September 2005

       Transcript of Texas Senate Committee
293      on State Affairs (Part I), August 9,    STATE154280-302
          2021, Hearing, Re: Senate Bill 1

       Transcript of Texas Senate Committee
294    on State Affairs (Part [II]), August 9,   STATE154831-77
          2021, Hearing, Re: Senate Bill 1

         Transcript of Texas Senate Session
295     (Part I), August 11, 2021, Re: Senate    STATE156017-125
                        Bill 1

        Transcript of Texas Senate Session
296    (Part II), August 11, 2021, Re: Senate    STATE156701-837
                        Bill 1


                                                   26
      Case 5:21-cv-00844-XR Document 715-2 Filed 08/15/23 Page 28 of 29




 #                    Exhibit                      Bates Range     US #   Objection    Notes/US Bates

       Transcript of Texas House Committee
       on Constitutional Rights and Remedies
297                                              STATE160198-358
        (Part I), August 23, 2021, Re: Senate
                        Bill 1

       Transcript of Texas House Committee
       on Constitutional Rights and Remedies
298                                              STATE162405-462
        (Part II), August 23, 2021, Re: Senate
                         Bill 1

           Transcript of Texas House of
299   Representatives Session (Part I), August   STATE163200-286
            26, 2021, Re: Senate Bill 1

           Transcript of Texas House of
300      Representatives Session (Part II),      STATE165397-451
         August 26, 2021, Re: Senate Bill 1

           Transcript of Texas House of
301   Representatives Session (Part I), August   STATE166756-772
            27, 2021, Re: Senate Bill 1

           Transcript of Texas House of
302      Representatives Session (Part II),      STATE167151-54
         August 27, 2021, Re: Senate Bill 1

        Transcript of Texas Senate Session,
303                                              STATE167176-179
        August 27, 2021, Re: Senate Bill 1

           Transcript of Texas House of
304     Representatives Session, August 31,      STATE167201-07
              2021, Re: Senate Bill 1

        Transcript of Texas Senate Session,
305                                              STATE167300-328
        August 31, 2021, Re: Senate Bill 1

        2022 P22 App Rejections (Includes
306                                                 64.127324
           Voters that Cured Rej).xlsx

       Summary Exhibit - ABBM application
                                                                                         No summary
              and ballot numbers-
                                                                                         exhibit was
307    20220325T005810Z- 001.zip?ABBM             LUPE_0007719
                                                                                      produced. Reserve
             application and ballot
                                                                                          objections.
         numbers\a_reqexpPM22_full.txt

      ABBM application and ballot numbers -
       20220325T005810Z-001.zip?ABBM
308                                               LUPE_0007719               A
             application and ballot
         numbers\a_reqexpPM22_full.txt

        Summary Exhibit - REDACTED_-                                                    No summary
309                                               LUPE_0007734
             _P322 1_Dallas.xlsx                                                        exhibit was



                                                   27
       Case 5:21-cv-00844-XR Document 715-2 Filed 08/15/23 Page 29 of 29




  #                   Exhibit                     Bates Range   US #   Objection    Notes/US Bates
                                                                                   produced. Reserve
                                                                                      objections.

 310     REDACTED_-_P322 1_Dallas.xlsx           LUPE_0007734             A

                                                                                      No summary
                 Summary Exhibit -                                                    exhibit was
 311                                             LUPE_0024430
               a_reqexpPM22_full.txt                                               produced. Reserve
                                                                                       objections.

 312           a_reqexpPM22_full.txt             LUPE_0024430             A

                                                                                      No summary
                                                                                      exhibit was
 313    Summary Exhibit - P322_Election.xlsx      HJ_0008945
                                                                                   produced. Reserve
                                                                                       objections.

 314             P322_Election.xlsx               HJ_0008945              A

        January 31, 2017, Letter on Results of
         Audit of November 8, 2016, General
       Election from Gretchen Nagy, Director,
 315                                                                     H, P
         Travis County Voter Registration to
       Michael Winn, Director, Travis County
               Clerk Elections Division



Date: August 15, 2023




                                                  28
